Case 1:11-cv-10230-MLW Document 401-1 Filed 07/23/18 Page 1 of 12




                       EX. 2
Case 1:11-cv-10230-MLW Document 401-1 Filed 07/23/18 Page 2 of 12


                          Michael Thornton

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                     JAMS, INC.                    Volume:    1

                                                   Pages:    1-109

 Ref. No. 1345000011                               Exhibits:        0


 ____________________________________

 In Re:    STATE STREET ATTORNEYS FEES
 ____________________________________



 Before:    SPECIAL MASTER HONORABLE GERALD ROSEN,

            UNITED STATES DISTRICT COURT, RETIRED



 Date:    June 19, 2017

 Time:    11:17 a.m.-2:10 p.m.




                    Deposition of MICHAEL P. THORNTON,

 taken by counsel to the Special Master held at JAMS,
 Inc., One Beacon Street, Boston, Massachusetts

 before Cynthia Stutz, CPR, Notary Public of the

 Commonwealth of Massachusetts.




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        Case 1:11-cv-10230-MLW Document 401-1 Filed 07/23/18 Page 3 of 12 Michael Thornton
In Re: State Street Attorneys Fees
                                                                                June 19, 2017
                                                   Page 14                            Page 16




                                                   Page 15                            Page 17

 1   Q. And did the focus of the firm shift to
 2    Boston?
 3   A. As far as my work did. Bill Mulvey, who
 4    is a very fine lawyer and still a fine lawyer and a
 5   friend, he was from Portsmouth. He grew up there.
 6   And he wasn't sure that the asbestos thing was going
 7   to be that good of a deal and he, he wanted to focus
 8   on Portsmouth. So we mutually agreed that we would
 9   separate the offices and he would no longer have an
10   interest in the one in Boston and I would no longer
11    have an interest in the one in Portsmouth.
12   Q. So what was the name in firm in Boston now
13    that you had the interest in?
14   A. It was probably Thornton and Thornton
15    Early. And for a while it was Motley. Ron Motley
16    was a very well known litigator that did, was really
17    a real pioneer in the asbestos litigation. His home
18    base was South Carolina, but he was rarely there.
19    He traveled the country. And he and I had been
20    working on these cases beginning -- We first met in
21    December of 1977 when I was actually still at the
22    Burns office and it was from him that I found out
23    that there was going to be such a thing as asbestos
24    litigation. I mean, I knew it was a mineral before


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                                             617-451-8900 603-669-7922
       Case 1:11-cv-10230-MLW Document 401-1 Filed 07/23/18 Page 4 of 12 Michael Thornton
In Re: State Street Attorneys Fees
                                                                                                 June 19, 2017
                                          Page 30                                                     Page 32

                                                     1    because it morphed from just the semiconductor
                                                     2    plants to we now also represent families who were
                                                     3    exposed to teratogenic pesticides in fields as farm
                                                     4    workers. So our stuff is mostly in California now
                                                     5    in the central valley and southern California. And
                                                     6    that's gotten enormously complicated, for a number
                                                     7    of reasons. They're harder cases, because people
                                                     8    outdoors are not inside in terms of proving
                                                     9    exposure, quantifying exposure and, in accordance
                                                    10    with that, causation. But we, we believe in it.
                                                    11    It's the kind of stuff that suits our firm well. We
                                                    12    feel good about the cases.
                                                    13   Q. Do you have an office in California?
                                                    14   A. No.
                                                    15       THE SPECIAL MASTER: How many
                                                    16    lawyers do you have now?
                                                    17       THE WITNESS: I think we've got
                                                    18    eighteen. We're a small firm. We're large for a
                                                    19    plaintiffs' firm, but, you know, eighteen is a very
                                                    20    small law firm. We have almost fifty employees
                                                    21    beyond that.
                                                    22   Q. What's your role in the firm currently?
                                                    23       THE SPECIAL MASTER: Of the fifty
                                                    24    employees, you have eighteen attorneys?

                                          Page 31                                                     Page 33




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                                     617-451-8900 603-669-7922
        Case 1:11-cv-10230-MLW Document 401-1 Filed 07/23/18 Page 5 of 12 Michael Thornton
In Re: State Street Attorneys Fees
                                                                                                          June 19, 2017
                                                   Page 34                                                     Page 36

                                                              1    matters before State Street?
                                                              2   A. Yes.
                                                              3   Q. Could you tell us about that and how they
                                                              4    came about?
                                                              5   A. We had worked -- Referring to the State
                                                              6    Street class action, I think?
                                                              7   Q. Yes.
                                                              8   A. Is that correct? We had filed prior, well
                                                              9    prior to filing the State Street class action, our
                                                             10    first whistle blower Qui Tam case against State
                                                             11    Street on behalf of California pension funds in
                                                             12    California, along with the law firm of Lief
                                                             13    Cabraser, Heimann and Bernstein. So that was our
                                                             14    first foreign exchange venture.
                                                             15   Q. And how did you come to be aligned with
                                                             16    Lieff Cabraser in that matter?
                                                             17   A. Well, we've known them for a long time. I
                                                             18    can't tell you exactly where we started. I've known
                                                             19    Bob Lieff. I've known Richard Heimann for a long
                                                             20    time. From, I'd say maybe the eighties and we got
                                                             21    to know each other better because they were heavily
                                                             22    involved in the tobacco litigation in the nineties.
                                                             23    Unlike us, they represented several states, so they
                                                         .   24    were known. And I had an opportunity to work with

                                                   Page 35                                                     Page 37

 1    And it's very depressing, you know. Some parts of       1    and become friends with Bob Lieff and Richard
 2    the business, when you read about the last admission    2    Heimann and Elizabeth Cabraser. And I thought, I
 3    to the hospital of somebody, particularly somebody      3    know they're very good lawyers and they're nice
 4    you knew. I used to know all the clients. I don't       4    people, people to work with.
 5    any more, but I can certainly sympathize with their     5      So when we were filing something in
 6    plight. But I am -- I don't try cases any more. I       6   California, we obviously needed California counsel.
 7    don't do depositions any more, this one                 7   None of my firm were members of the California bar,
 8    notwithstanding.                                        8    and we asked if they would join us and they did.
 9       THE SPECIAL MASTER: Are you                          9   Q. And was the whistle blower in that case
10    effectively CEO of the firm, then?                     10    yours or someone else's?
11       THE WITNESS: Yeah, yes.                             11   A. The whistle blowers were ours.
12       THE SPECIAL MASTER: Spend a lot of                  12   Q. Okay. And how did the whistle blowers
13    time administering and running the firm?               13    come to you, just in general terms?
14       THE WITNESS: Yes, I do, although a                  14   A. They were referred to us by someone --
15    lot less since Garrett became -- I relinquished the    15    It's a little involved. Harry Markopolos -- I don't
16    role of managing partner last year, summer, and        16    know if you're familiar with him or not.
17    Garrett Bradley has been doing that since. He still    17   Q. Of Madoff?
18    knocks on my door too often to ask me, because I       18   A. Of Madoff fame, in a not totally direct,
19    don't miss the administrative stuff at all. I like,    19    but a pretty direct way, he makes his living by
20    I still like the practicing law. I enjoy it, but I     20    referring whistle blowers to law firms to bring
21    do a lot less of that now. Almost none.                21    actions. And Harry gave me, through Mike Lesser,
22   Q. Let's move a little bit forward, Mike, to            22   who was head of our Qui Tam department, and he knew
23    the time period just prior to the State Street case.   23   of Mike because Mike had done some good work in New
24    Had you and the firm worked in any foreign exchange    24   York, he and a lawyer he worked with there. He gave


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                                             617-451-8900 603-669-7922
       Case 1:11-cv-10230-MLW Document 401-1 Filed 07/23/18 Page 6 of 12 Michael Thornton
In Re: State Street Attorneys Fees
                                                                                                  June 19, 2017
                                          Page 38                                                      Page 40

                                                     1




 5




                                          Page 39                                                      Page 41

 1                                                   1   Q. Was Markopolos the referral for all of
                                                     2    those relaters?
                                                     3   A. Yeah. Well, in one way or the other, he
                                                     4    was.
                                                     5   Q. How was he compensated for these
                                                     6    referrals?
                                                     7   A. He gets a portion of this. The relaters
                                                     8    pay him. We can't.
                                                     9   Q. I see. Is he an attorney?
                                                    10   A. No.
                                                    11   Q. Was there any competition, Mike, as far as
                                                    12    other firms besides you and Lieff that were
                                                    13    interested in doing foreign exchange cases?
                                                    14   A. Not early on, because nobody else knew
                                                    15    about it. There had never been a case brought like
                                                    16    it, that I know of, or I think I probably would have
                                                    17    known of it involving foreign exchange. I mean, the
                                                    18    rest of the attorneys in America were as dumb as I
                                                    19    was in terms of, you know, what goes on in banks,
                                                    20    you know, sometimes. Some banks in some areas.
                                                    21   Q. At some point around this time, you know,
                                                    22    post the intervention of the Attorney General, did
                                                    23    you develop an association with the Labaton law
                                                    24    firm?

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                                     617-451-8900 603-669-7922
        Case 1:11-cv-10230-MLW Document 401-1 Filed 07/23/18 Page 7 of 12 Michael Thornton
In Re: State Street Attorneys Fees
                                                                                                         June 19, 2017
                                                 Page 42                                                      Page 44

                                                            1    anything wrong done regarding State Street and



                                                            5   Q. And that was Mr. Hopkins?
                                                            6   A. That was Mr. Hopkins.
                                                            7   Q. And is it fair to say he proved to be a
                                                            8    valuable client?
                                                            9   A. Well, he was a good client. I mean, he
                                                           10    was, he was -- He had guts, because it takes -- You
                                                           11    know, most pension funds don't want to, they don't
                                                           12    want to screw around with their custodians.
                                                           13   Custodians are very important to them. They provide
                                                           14    a lot of valuable services. They've got
                                                           15    relationship managers and if you have ever talked to
                                                           16    a relationship manager at one of these banks, I wish
                                                           17    to Christ we could get someone like that working for
                                                           18    us. They were very talented people. They make the
                                                           19    relationships go. And funds don't want to --
                                                           20    They're very reluctant to part ways or certainly get
                                                           21    involved in litigation with their custodial bank.
                                                           22    George, George Hopkins didn't want to either.
                                                           23      We went to Chicago at EnnisKnupp,
                                                           24    which is one of their advisors, Arkansas advisors,

                                                 Page 43                                                      Page 45

 1    started.
 2   Q. And what was the first partnership along
 3    those lines with Labaton?
 4   A. I can't recall. I can't remember what the
 5    first one was.
 6   Q. Did they come on board in the California
 7    case?
 8   A. No.
 9   Q. And with respect to the instant case, the
10    State Street case?
11   A. Right.
12   Q. What was their first involvement in that?




23    to them all the time. So he wanted to look into it
24    further to see if he could, if there had been

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                                            617-451-8900 603-669-7922
       Case 1:11-cv-10230-MLW Document 401-1 Filed 07/23/18 Page 8 of 12 Michael Thornton
In Re: State Street Attorneys Fees
                                                                                                  June 19, 2017
                                          Page 54                                                      Page 56

 1




                                          Page 55                                                      Page 57

                                                     1   Q. And how much was discussed, at least
                                                     2    initially?
                                                     3   A. Bob Lieff, who'd been down this road
                                                     4    before with multiple firms in class litigation, I
                                                     5    think, determined that it would be a lot, it would
                                                     6   be well for us to come to an agreement beforehand,
                                                     7   well beforehand on what the fee breakdown would be
                                                     8    between ERISA and consumer class. He knew the
                                                     9    factors involved and I think he negotiated primarily
                                                    10    with Lynn Sarko on that, but I'm sure he talked to
                                                    11   the others. He would have had to, because unanimous
                                                    12    consent. And he came to us at one point. I think
                                                    13    he had already pretty much worked out, pending our
                                                    14    approval, that the fair thing would be for ERISA
                                                    15    attorneys to get 9% of the attorneys' fee and that
                                                    16    would probably be off the top.
                                                    17   Q. At some point did that percentage change?
                                                    18   A. It did.
                                                    19   Q. And when did that happen?
                                                    20   A. It's right toward the end. And Larry
                                                    21    Sucharow and probably Bob Lieff thought that they
                                                    22    deserved, for what they had done or for whatever
                                                    23    might have been the amount of funds they had, they
                                                    24    were going to get an additional 1%, and so we agreed


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                                     617-451-8900 603-669-7922
        Case 1:11-cv-10230-MLW Document 401-1 Filed 07/23/18 Page 9 of 12 Michael Thornton
In Re: State Street Attorneys Fees
                                                                                 June 19, 2017
                                                  Page 58                             Page 60

 1    to raise it to 10%.                                   1
 2   Q. Did you have my misgivings or objections
 3    to that?
 4   A. No.
 5   Q. The firm didn't?
 6   A. No.
 7   Q. And we talked earlier about Mr. Hopkins,
 8    George Hopkins. What was your and the firm's
 9    contact with him during the mediation process?
10   A. He came to a number of the mediations and
11    he would speak at the mediations. I mean, he's not
12    a wilting flower.
13       THE SPECIAL MASTER: He's not a
14    potted plant.
15       THE WITNESS: No, he's not a potted
16    plant. He has his views and there is --
17   Q. He's not shy, is he?
18   A. He's not shy and he spoke up and he had
19    his own ideas of how things should be going. And so
20    we saw a lot of him in the mediations. And we see
21    him occasionally other times, we'd get together and
22    talk about how things were going and where we were.
23   Q. He was a very active participant in the
24    life of this case?

                                                  Page 59                             Page 61




12




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                                            617-451-8900 603-669-7922
      Case 1:11-cv-10230-MLW Document 401-1 Filed 07/23/18 Page 10 of 12Michael Thornton
In Re: State Street Attorneys Fees
                                                                                                  June 19, 2017
                                          Page 78                                                      Page 80

                                                     1    document review hours were accounted for?
                                                     2   A. I think Evan Hoffman was monitoring him.
                                                     3   Q. And did his hours ever come to your
                                                     4    attention for any reason, good, bad, indifferent?
                                                     5   A. No.
                                                     6   Q. And as of early 2015, Mike, what was your
                                                     7    understanding of how the cost sharing arrangement
                                                     8    with Labaton and Lieff would be represented in a fee
                                                     9    petition?
                                                    10       MR. KELLY: I'm sorry, as of what
                                                    11    date, Bill?
                                                    12       MR. SINNOTT: As of early 2015.
                                                    13   A. We had, as of that date, I think what we
                                                    14    had agreed that we would, each of the three firms
                                                    15    would receive 20% of the fee. This is, this is
                                                    16    after ERISA attorneys were paid, so I think that
                                                    17    came off of the top. I'm pretty sure that it did.
                                                    18    And that the remaining 40% would be negotiated
                                                    19    between the three firms when we got closer to really
                                                    20    meaning something, which we still weren't at at that
                                                    21    point.
                                                    22   Q. Was there any understanding at that time
                                                    23    as far as who would claim what staff attorney hours?
                                                    24       THE SPECIAL MASTER: For purposes of

                                          Page 79                                                      Page 81

                                                     1    the fee petition?
                                                     2        MR. SINNOTT: Yes.
                                                     3   A. Yeah, I think. I mean, it was my
                                                     4    understanding that if you paid for it, if you paid
                                                     5    for the staff attorney, you'd get the hours.
                                                     6   Q. Was anybody in particular responsible for
                                                     7    insuring that that would happen?
                                                     8   A. There was no one individual responsible
                                                     9    for monitoring that. I mean, it's like, you know, I
                                                    10    guess there's a spreadsheet someplace. It is what
                                                    11    it is. You know, they worked and did you pay for
                                                    12    this person, you know, and if you did, put the hours
                                                    13    that they work, that's the way it would work.
                                                    14   Q. Who handled the fee petition or prepared
                                                    15    the fee petition on behalf of Thornton?
                                                    16   A. That would be Mike Lesser, Garrett Bradley
                                                    17    and probably Evan Hoffman.
                                                    18   Q. And did you ever review Thornton attorney
                                                    19    hours in that fee petition?
                                                    20   A. I reviewed my own hours. I didn't review
                                                    21    any other hours. I saw what they, totals and stuff,
                                                    22    but I was mainly concerned about my own hours.
                                                    23   Q. You didn't review staff attorney hours?
                                                    24   A. No.

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                                     617-451-8900 603-669-7922
       Case 1:11-cv-10230-MLW Document 401-1 Filed 07/23/18 Page 11 of 12Michael Thornton
In Re: State Street Attorneys Fees
                                                                                                         June 19, 2017
                                                  Page 82                                                     Page 84

 1   Q. In Larry Sucharow's affidavit there's
 2    language in Paragraph 7 -- And could I have that,
 3    please? Let me strike that.
 4       Let me first ask you if you reviewed
 5    Garrett Bradlee's Declaration in Support of Lead
 6    Counsel's Motion for Award of Attorneys' Fees and
 7    Payment of Expenses, do you remember reading that?
 8   A. Yes.
 9   Q. And, Mike, let me show you Paragraph 4.
10   A. I'm familiar with Paragraph 4.
11   Q. Okay. I bet you are. Paragraph 4 reads,
12    The hourly rates of the attorneys and professional
13    support staff in my firm included in Exhibit A are
14    the same as my firm's regular rates charged for
15    their services which have been accepted in other
16    complex class actions.
17       Do you agree with that language?
18   A. It's true, but it's not clear and it's
19    poorly worded.
20   Q. Okay. Explain that.
21   A. Because we are a contingent fee firm, we
22    never, virtually never charge anybody by the hour.
23    So it would have been, it would have been more -- I
24    think most people know we're a contingent firm.

                                                  Page 83                                                     Page 85

                                                             1   Q. Sure, yeah.
                                                             2       (Document handed to the witness.)
                                                             3   A. Yeah, it's the same. Thank you.
                                                             4   Q. So does that make you think that that
                                                             5    language tracked, your language or Garrett's
                                                             6    language tracked?
                                                             7   A. Yes.
                                                             8   Q. Labaton's language?
                                                             9   A. Yes.
                                                            10   Q. Okay.
                                                            11       THE SPECIAL MASTER: Your firm, had
                                                            12    your firm done fee petitions in other complex class
                                                            13    actions?
                                                            14       THE WITNESS: I'm trying to think
                                                            15    back to the tobacco litigation, if that was, if it
                                                            16    was actually a petition that was done or if it was
                                                            17    done differently. I don't recall.
                                                            18       THE SPECIAL MASTER: Was your firm
                                                            19    involved in the B-O-N-Y, the BNY Mellon case?
                                                            20       THE WITNESS: Yes. And we did have
                                                            21    an individual. Thank you.
                                                            22       THE SPECIAL MASTER: And did you do
                                                            23    a fee petition in that, if you remember?
                                              o             24       THE WITNESS: I imagine we did,

Min-U-Script®                                Jones & Fuller Reporting                                (21) Pages 82 - 85
                                            617-451-8900 603-669-7922
      Case 1:11-cv-10230-MLW Document 401-1 Filed 07/23/18 Page 12 of 12Michael Thornton
In Re: State Street Attorneys Fees
                                                                                                 June 19, 2017
                                          Page 90                                                      Page 92

                                                     1    he told me about the $500 an hour, I had a
                                                     2    conversation with him about that, because I wanted
                                                     3    to know what the other document reviewers -- But,
                                                     4    you know, like I say, he took it on a contingency
                                                     5    basis and it wasn't that much more than what
                                                     6    everyone else was getting. And the fact that we
                                                     7    didn't have to pay him for a couple years and we
                                                     8    didn't have to pay him never if the thing didn't
                                                     9    work out made it seem ballpark fair to me.
                                                    10   Q. Let me, once again, bring you to November
                                                    11    of 2016 and ask you how you learned about the
                                                    12    billing hours in the fee petition?
                                                    13   A. We found out from our counsel that there
                                                    14    had been a duplicate billing, inadvertent, but
                                                    15    duplicate on some of the hours that we had for our,
                                                    16    the lawyers that we were paying for that they were
                                                    17    also claimed on the other two firms.
                                                    18   Q. And when did you learn that, as best you
                                                    19    remember?
                                                    20   A. It was in November of 2016.
                                                    21   Q. And was this before or after the Boston
                                                    22    Globe had inquired of the firm?
                                                    23   A. Right after.
                                                    24   Q. And what was your reaction when you

                                          Page 91                                                      Page 93




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                                     617-451-8900 603-669-7922
